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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                      Wheeling




WEST VIRGINIA PARENTS FOR
RELIGIOUS FREEDOM, ANDREW
WALDRON, PASTOR CHRIS FIGARETTI,
and JUDD UHL,

                      P Ia intiffs,

              V.                                      CIVIL ACTION NO. 5:23-CV-158
                                                      Judge Bailey

DR. MATTHEW CHRISTIANSEN,
in his official capacities as the State
Health Officer and Commissioner of the
Bureau of Public Health,

                      Defendant.




            ORDER DENYING MOTION FOR PRELIMINARY INJUNCTION

       Pending before this Court is plaintiffs’ Motion for Preliminary Injunction and

Expedited Consideration [Doc. 4] and Memorandum in Support [Doc. 5], filed April 28,

2023. Defendant filed a Response in Opposition [Doc. 35] on May 9, 2023. On May 10,

2023, this Court held a hearing on the Motion. On May 12, 2023, plaintiffs filed a Reply

[DoG. 44]. Accordingly, this matter is ripe for adjudication. For the reasons contained

herein, the Motion will be denied.


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                                              BACKGROUND

       Plaintiffs, who are all members of Parents for Religious Freedom (“PRF”)1, claim to

possess deeply held religious beliefs that prohibit them from vaccinating their children.

[Doc. I at ~J~J 25—30, 41—45, & 60—611. More specifically, plaintiffs claim that their religious

convictions that prevent them from vaccinating their children are deeply held and

substantially burdened by W.Va. Code § 16-3-4 (the “Compulsory Vaccination Law”), and

their decision to uphold their religious convictions has entailed significant sacrifices and

caused irreparable harm.

       Currently, West Virginia’s compulsory school attendance law requires children

between the ages of six and seventeen to be enrolled in an education program, see W.Va.

Code   § 18-8-la, and a parent’s failure to educate their children subjects the parent to
potential criminal prosecution. Id. at        § 18-8-2.
       Each individual plaintiff claims to have been negatively impacted by their decision

to exercise their sincerely held religious beliefs, as it appears from the record that each has

attempted to enroll their children in the West Virginia school system but been denied from

doing so as no religious exemption to the Compulsory Vaccination Law exists. See [Doc.

5 at 3].   However, a child may be exempt from the requirements upon producing a

certificate “granting the child   .   .   .    a   [1 [medical] exemption from the compulsory
immunization requirements.” W.Va. Code               § 16-3-4(b).


       1PRF formed to advocate on behalf of parents whose unvaccinated children are
excluded from the State of West Virginia’s educational system. PRF’s purpose is to seek
or obtain the establishment of a religious exemption process to vaccination requirements
for schools and daycares, or the recognition by law of such exemptions. [Doc. I at ¶~J
20—22].
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         And through the plain language of the relevant statute, it appears that the State of

West Virginia has reserved discretion to accept or deny medical exemptions. The statute

dictates in relevant part that defendant “is authorized to grant          .   .   .   exemptions to the

compulsory immunization requirements.        .   .   on a statewide basis, upon sufficient medical

evidence that immunization is contraindicated or there exists a specific precaution to a

particular vaccine. Id. at   §   16-3-4(h). Under the statutory scheme, there appear to be

multiple levels of discretionary review whereby government officials and private physicians

are empowered to approve or deny medical exemption requests. At the first level of

review, West Virginia has delegated private health providers discretion to determine the

variety of circumstances which are eligible for a medical exemption, and those which are

not. See [Doc. 4-1]. Apparently acting on behalf of the State, these physicians conduct

an individualized assessment of each request for a medical exemption and have latitude

to decide whether to certify the request. If and when the medical exemption form is signed

by a physician, it is then forwarded to the state’s Immunization Officer for personalized

review. If the exemption is approved, that student is permitted to attend school without

having received all of the mandated vaccines.

         If the Immunization Officer denies the medical exemption, the decision can be

appealed to defendant, who reviews the appeal on a case-by-case basis and determines

whether to uphold or reverse the Immunization Officer’s decision.                         W.Va. Code

§   16-3-4(h)(4); see also [Doc. 4-2].
         It appears that there is no similar exemption process to citizens with religious

objections to compulsory vaccination. And herein lies the issue presented in this case—that

is, whether the State of West Virginia can exclude unvaccinated children from school if

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their families have sincerely held religious beliefs that prohibit them from vaccinating their

children, while simultaneously allowing families to be exempt from the State’s vaccination

requirements for secular, medical reasons. Against this factual backdrop, plaintiffs move

this Court to preliminarily enjoin the Compulsory Vaccination Law.

                                    LEGAL STANDARD

       A movant seeking a preliminary injunction must establish: “(1) a substantial

likelihood of success on the merits, (2) a substantial threat of irreparable injury if the

injunction is not issued, (3) that the threatened injury if the injunction is denied outweighs

any harm that will result if the injunction is granted, and (4) that the grant of an injunction

will not disserve the public interest.” Blackwelder Furniture Co. v. Seilig Mfg. Co., 550

F.2d 189 (4th Cir. 1977). Where, as here, the requested relief seeks to upend the status

quo through a mandatory injunction, the moving party will prevail after showing the “facts

and law” are “clearly” in their favor. Anderson v. United States, 612 F.2d 1112, 1114

(4th Cir. 1979). In the Fourth Circuit, “each” of the “four factors must be satisfied to obtain

preliminary injunctive relief.” Henderson for Nat’ILab. Rels. Bd. v. BluefieldHosp. Co.,

LLC, 902 F.3d 432, 439 (4th Cir. 2018). However, the last two factors “merge” when the

Government is the opposing party. Nken v. Holder, 556 U.S. 418, 534 (2009).

                                        DISCUSSION

       Initially, this Court notes that the parties and amicus curiae filed, expeditiously,

extensive briefing addressing the merits of the claims and legal issues presented herein.

However, in the unique context of preliminary injunction, this Court believes it must focus

first on the question of whether plaintiffs have demonstrated a substantial threat of


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irreparable injury if the requested injunction is not issued. Upon consideration of the

briefing and argument heard at hearing, this Court is of the opinion that it is indisputable

that plaintiffs have failed to make such showing here. Notably, plaintiffs have not yet been

confronted with the decision to either vaccinate their children or forego attendance at their

schools of choice, as they do not suggest that they wish to enroll their children in West

Virginia schools in the mere, remaining weeks of the 2022—23 school year. Moreover, the

2023—24 school year does not begin until August 2023. Given the timing of this litigation

over Summer 2023, there is no present threat of irreparable injury requiring immediate

resolution of this dispute because plaintiffs will not be forced to choose between religious

convictions and mandatory vaccination for several additional months. And, as this Court

indicated in its Order Setting Briefing Schedule [Doc. 39], this dispute will be adjudicated

on the merits in that interim time-frame before irreparable harm, if any, may occur.

                                       CONCLUSION

       For this independent reason, plaintiffs have failed to satisfy all prerequisites to

prevail on their request for a preliminary injunction. Accordingly, the Motion for Preliminary

Injunction and Expedited Consideration [Doc. 4] is DENIED. Insofar as this Court has

considered the proposed Amicus Brief [Doc. 28-1] in rendering this Opinion, the Motion for

Leave to File Amicus Curiae by the West Virginia Attorney General [Doc. 28] is GRANTED.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all counsel of record herein.

       DATED: May          2023.

                                                  J   N PRESTON BAILEY
                                                  UNI      ATES DISTRICT JUDGE

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